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                                           No. 13-994C

This Opinion Will Not Be Published in the U,S, Court of Federal Claims Reporter Because            It
                      Does Not Add Significantly to the Body of Law'

                                     (Filed:   December 20, 2013)                  FILED
 TIMOTHY SNEED,pro           se,                                                Dtc 2 0 2013
                                                                              U.S. COURT OF
                         Plaintifl                                           FEDERAL CLAIMS



 STATE OF FLORIDA, INC., ET AL.,

                         Defendant.




                                       OPINION and ORDER


        On December 16, 2013, Timothy Sneed (plaintiff.l filed a complaint seeking, inter
                                                                                          ^lia,
unspecified damages and other relief associated with his alleged wrongful conviction in a Florida
state court.

        This court is solemnly obliged, on its own accord, to address obvious questions conceming
its subject matter jurisdiction. see Mitchell v. Maurer,293 U.S. 237,244 (1934). This court
recognizes that ptaintifrt   acting pro se before this court, and thus the court will hold the form of
plainliff s submlssions to a less stringent standard than those &afted by an attorney' See Reetl v
unirc(l states,23 cI. Ct.517,521(1991) (citing Estelle v. Gamble,429 U.S.97 (1976)). Having
reviewed plaintiffs complaint, this court is certain that it lacks jurisdiction to consider the claims
that plaintiff raises.

        With very limited exceptions, the jurisdictional statutes goveming the United Sta1es Court
ofFederal Claims grant authority to the court only to issue judgments for money against the United
States and then, only when they are grounded in a contract, a money-mandating statute, or the
takings clause of the Fifth Amendment. see [Jnited states v. Testan, 424 U .S , 392, 397 -98
(197 6);25 U.S.C. $ 1491. Plaintiff makes some references in his complaint to the Due Process
dlause of the Fifth Amendment to the U.S. Constitution - but this is not a money-mandating
provision, as would support this court's exercise ofjurisdiction. See LeBlanc v. United States,50
-rl:a
      tozs. 1028(Fed.Cir. 1995); Carruthv.(Jnitedstates,627F.2d 1068, 1081 (Ct.Cl. 1980).
          Case 1:13-cv-00994-FMA Document 4 Filed 12/20/13 Page 2 of 2




         Nor does this court have jurisdiction to consider collateral attacks on plaintiffs criminal
conviction, see Carter v. United States,228 Ct. Cl. 898, 900 ( 1981), or to haadle claims against
state agencies or officials for actions not attributable to the United States, see 28 U.S.C. $
1a9l(a)(1) (limiting the jurisdiction of the United States Court of Federal Claims to claims
"against the United States"); Brown v. United States,l05 F.3d 62I,624 (Fed. Cir. 1997)
(concluding that the court's jurisdiction does not extend to suits against individual officials);
Shewfelt v. United States,104 F.3d 1333, 1337-38 (Fed. Cir. 1997) (holding that the actions of
state officials were not attributable to the United States). Finally, to the extent that plaintiff raises
claims against the United States under the False Claims Act, 31 U.S.C. gg 3729-33, those claims
may only be heard in the United States district courts. See 3l U.S.C. 1730(d); Meschkow v.
United States, 109 Fed. Cl. 637, 645 (2013).

       Accordingly, the Clerk shall dismiss plaintiff s complaint for lack ofjurisdiction. The
Clerk shall provide notification of this dismissal to the appropriate official ofthe State of Florida.

        IT IS SO ORDERED,
